    Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 1 of 31 PageID 1904



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

In Re: Avantair, Inc.

CORRECTIONS CORPORATION
OF AMERICA,

          Appellant,
v.                                                         Case No: 8:14-cv-1742-JSM
                                                           Bankruptcy No. 8:13-bk-09719-CPM
TRUSTEE BETH ANN SCHARRER and                              (Lead Case for All Consolidated Cases)
THE N109SL FRACTIONAL OWNERS,

      Appellees.
_________________________________/


            APPELLANTS’ BRIEF IN SUPPORT OF CONSOLIDATED APPEALS

           Appellants Corrections Corporation of America, d/b/a CCA of Tennessee, Inc., and

    CCA of Tennessee, Inc., (referred to herein as “CCA”), creditors of the Debtor, Avantair,

    Inc., through counsel file this Brief in Support of The Currently Consolidated Appeals

    Pending Before this Court from the Bankruptcy Court Orders Overruling Appellants’

    Limited Objections to Motions to Compromise and Approval of Sales of the Fractional

    Share Aircraft Operated by the Debtor Avantair, and further show this Court the following:

                                            INTRODUCTION

         This appeal depends initially on the nature of the ownership rights, if any, of the

fractional share program participants. 1 The answer to this question turns upon interpretations

of the role of the federal government in the regulation of aviation (federal preemption) and


1
 Appellee uses the talismanic label “co-owners” to refer to the fractional share program
participants. Whether they are “co-owners,” of what, and the extent of their rights vis a vis the
Debtor, among each other inter se, and as respects the rest of the world, are all issues that must
be considered de novo on this appeal and may well affect the outcome of this appeal.
                                                    1
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 2 of 31 PageID 1905



Florida property law, as much as it does upon the various agreements defining the

relationship between the Debtor and the fractional share program participants. Once the

rights of the fractional share participants are determined, then the remaining issue is the

effect those rights have on the distribution of the proceeds from the sale by the Trustee of the

fleet of aircraft operated by the Debtor under the fractional share program, and whether the

Debtor’s pervasive practice of removing part from certain aircraft (“donor” aircraft) for the

benefit of other aircraft impacts that distribution.

                                   STATEMENT OF THE CASE

      I.      The Origin and Conceptual Underpinnings of Fractional Share Aircraft
              Use Programs

      The regulation of aviation safety is a field generally recognized as falling exclusively

within the scope of federal authority. This is particularly true as respects registration of

aircraft. In order for any aircraft to be operated in the United States, it must have a valid

registration. While international treaties give aircraft registered outside the United States

rights to operate within the United States on a temporary basis, aircraft based in the United

States must be registered with the Federal Aviation Administration. Aircraft registered in the

United States also must be operated in accordance with federal law, specifically the

regulations established by the Federal Aviation Act of 1958, as currently amended (“FAA of

1958”). Under the FAA of 1958, these regulations are promulgated by the Federal Aviation

Administration, and are codified at 14 C.F.R., Parts A through N (commonly referred to as

the “Federal Aviation Regulations”).

      Separate and apart from registration of aircraft is the concept of ownership of aircraft.

While there are certain citizenship requirements established for owners of aircraft in order


                                                   2
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 3 of 31 PageID 1906



for the aircraft to be registered in the United States under the FAA of 1958 and the Federal

Aviation Regulations, federal law does not determine issues of ownership per se. Instead,

issues of ownership are determined by state law, with one significant exception. Because of

the mobile character of aircraft, Congress established the Civil Aircraft Registry in the

predecessor to the FAA of 1958, the Air Commerce Act of 1938 (the “1938 Act”) to promote

the growth of air commerce by providing a single repository for recording interests in aircraft

so that those involved in transactions could be provided certainty in those transactions by

inspecting the records of a single recording office to locate interests in aircraft, rather than

attempting to identify the various recording offices in the (then) 48 states at which such

records might be established under law of each state. This would appear on its face to be a

purely ministerial function, however, the 1938 Act was a creature of its time – and recording

acts of that era typically were either pure “race” to the courthouse statutes or “race/notice”

statutes – Congress chose to define the effect of filing in the Federal Aircraft Registry as a

“race/notice” system, such that under the 1938 Act, now codified under the FAA of 1958, the

effect of recording is to grant priority to all persons holding federally recorded interests in

aircraft over all other third parties, except those of which the person holding the federally

recorded interest has “actual notice.” See Philko v. Schacket Aviation, Inc., 462 U.S. 406

(1983). All other issues relating to aircraft ownership are reserved to state law, just as in the

case of any other personal property. Id.

       The distinction between registration and ownership is also clearly made under federal

law. Pursuant to federal statute, the registration of an aircraft to a particular entity cannot be

used as evidence of ownership. 49 U.S.C. section 44103. Thus, neither an aircraft

registration nor a a recorded interest in an aircraft is a certificate of title such as might be


                                                    3
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 4 of 31 PageID 1907



issued by a state government to determine the ownership of an automobile. Indeed, the FAA

has consistently opposed any effort to create certificates of title for aircraft, claiming that its

mission is aviation safety and not resolving disputes as to ownership of personal property –

whether airplanes or not.

       Having clearly drawn this distinction between aircraft registration governed by federal

law and aircraft ownership governed by state law, there are certain circumstances under

which the FAA has conditioned the application of its registration and safety regulations on

ownership issues. For example, there are U.S. citizenship requirements for registration of

aircraft in the United States, historically dated back to before the Second World War when it

was contemplated that in the event of a National Emergency, the entire fleet of U.S.

registered aircraft might be called up for military service (and many in fact were during the

Second World War). This system exists today, but foreign citizens, particularly foreign

corporations with substantial operations in the United States in this global economy, may

own U.S. registered aircraft by placing the ownership in the name of a United States citizen

as trustee, which then registers the aircraft in the United States for the beneficial owners.

This system is accepted by the FAA, which nevertheless has issued extensive regulations

regarding the degree of control that the trustee must retain in order to satisfy the underlying

objectives of the citizenship requirements for registration.

       Similarly, the FAA Aircraft Registry has refused to record interests in “partnerships,”

insisting that for registration purposes an aircraft must have “owners” who can provide the

FAA with a point of contact (like the trustee in the trust example) for purposes of

establishing operational control over the aircraft and the compliance of its operators with

Federal Aviation Regulations, particularly safety regulations. While refusing to record


                                                   4
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 5 of 31 PageID 1908



interests in partnerships, the FAA has historically permitted registration of aircraft to

specifically named “co-owners” provided each of them satisfies the requirements for U.S.

citizenship.

       It is against this historical background of federal registration of aircraft and recording

interests in aircraft, that the fractional share concept of aircraft operation was created – first

as a form of sharing aircraft operation, and then as a regulatory framework. The operation of

aircraft in commercial operations subjects the operators to rigorous standards of regulation

for the protection of air travelers. While these regulations form the underpinnings of the

business model of major air carriers and are generally known as Parts 121 through 129, these

regulations can become very onerous for smaller operators. Nevertheless, due to the poor

safety record of small “shoestring” commercial operations, the FAA has chosen to continue

to rigorously regulate them under a separate Part of the Federal Aviation Regulations (Part

135) involving a detailed system of operational requirements, recording requirements and

inspections by FAA personnel.

       In an effort to circumvent these more rigorous regulations, some operators decided to

“sell” shares in the aircraft themselves to their transportation customers, making them “co-

owners” to satisfy the FAA requirements that allow “owners” of aircraft to operate the

aircraft themselves, or trade flight time in other aircraft, without being considered a

commercial operation providing air carrier services, whether scheduled or on demand, to the

public at large. In this manner, the rigorous operational, maintenance and training

requirements imposed on commercial operators, large and small, could be avoided. While

such a concept of aircraft “sharing” between neighboring aircraft owners on an airport might

not implicate any greater public safety concerns than each of the respective aircraft owners


                                                   5
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 6 of 31 PageID 1909



operating their own aircraft, the modern computer age has enabled operators to assemble

large fleets of “shared” aircraft such that shared aircraft based by the operator throughout

the United States (or the world) would be available at any time “on demand” to provide air

transportation services to other “owners” with whom they had absolutely no connection other

than having purchased a “share” in the fleet operated by fractional share operator.


      The FAA reacted to the growth of such programs when a series of tragic accidents

demonstrated that these fractional share programs were essentially unregulated commercial

operations in which members of the air traveling public were being subjected to unsafe

“shoestring” operations. There was clearly a need to reign in this circumvention of the

Federal Aviation Regulations, but there also was an influential fractional share industry that

resisted these changes. The result was a recognition of the fractional share programs, but the

imposition of certain requirements for such programs – all codified in Subpart K of Part 91,

(the general non-commercial operating regulations) at sections 91.1001 et seq. of the Federal

Aviation Regulations (49 C.F.R. section 91.1001 et seq.). In return for satisfying these more

rigorous regulations, an operator of a fractional share program could, if it chose, avoid the

even more rigorous regulations imposed on commercial operators in Parts 119 through 135

of the Federal Aviation Regulations.

      The essential element of the fractional share regulations under Subpart K is that the

fractional share operator is considered the point of contact for the FAA with regard to all air

safety matters. While the fiction continued to exist that the fractional share participants, as

record “co-owners” of an aircraft, had operational control of the aircraft providing them

transportation at any given time, whether “their” aircraft or any other fleet aircraft, the

regulatory duty fell squarely on the fractional share operator to comply with the rigorous

                                                  6
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 7 of 31 PageID 1910



requirements of Part K of Part 91 regulating the actual flight operations, aircraft condition

and aircraft maintenance, crew qualifications, training and scheduling, and all other aspects

of the operation. The fractional share participants, while titular “co-owners” would not, and,

under the regulations, could not exercise anything more than fictional “operational control”

over “their” aircraft at any time (even if, as was rarely the case, they were on board “their”

aircraft rather than another fleet aircraft), much less the condition, maintenance and servicing

of the aircraft, or the qualifications, training and scheduling of the crew members. Of course,

while subject to these more rigorous operating regulations, the fractional share operators also

were fine with this concept because it was the starting point for their reservation of complete

control of all aspects of “ownership” of the fleet aircraft through a series of standard

reciprocal contracts with all of the fractional share participants entered into at the time of

their purchase of the fractional share interest. Thus, while the fractional share participants

might hold bare record “title,” all aspects of beneficial ownership and control, and also the

essential property right of alienability of those recorded “title” interests, could be retained by

the fractional share operator.

      II.     The Fractional Share Contracts and the “Rights” Conveyed to the
              Fractional Share Participants and The “Rights” Reserved by the
              Fractional Share Operator.

      The Fractional Share Contracts typically consist of a series of linked contracts

generally addressing the following: (1) a purchase agreement of a “fractional share interest”

identifying a specific aircraft to which the interest is to be assigned by the fractional share

operator; (2) a dry lease agreement under which the fractional share operator “leases” the

aircraft (exclusively and free of charge) from the holder of the fractional share interest ; (3) a

fractional use agreement under which the fractional share participant is entitled to air


                                                  7
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 8 of 31 PageID 1911



transportation on board available fleet aircraft on a prescribed “on demand” basis; and an

interchange agreement under which the fractional share participants are entitled to “use” the

aircraft assigned to other fractional share participants.

      Under the Fractional Share Contracts in this case, the fractional share participant will

be issued (at the discretion of the operator) an interest (typically in multiples of at least 1/16th

share as mandated by the Federal Aviation Regulations) in a fractional share aircraft. The

Fractional Share Contract, while providing that a Bill of Sale evidencing a co-owner status

equal to its share would be recorded in the FAA Aircraft Registry (located in and commonly

simply referred to as “Oklahoma City”) in order to comply with the regulatory requirement

of Subpart K of the Part 91 of the Federal Aviation Regulations, expressly limits the rights of

the fractional share participant in the aircraft. For example, the fractional share participant

does not have the right to “use” the specific aircraft, to make any decisions regarding its

maintenance or upkeep, to exercise any control whatsoever over its operation, maintenance,

and the qualifications, training and scheduling of its crew members. The fractional share

participant has no rights to convey all or any part of its interest, other than back to the

fractional share operator, may be required to transfer its interest to any other comparable

aircraft within the sole discretion of the operator and at any time, may be required to assign

any interest in any insurance proceeds related to the aircraft, and is not entitled to share in the

proceeds from the sale of the aircraft by the fractional share operator, provided it is assigned

an interest in a comparable aircraft at the time of the sale.

      III.    The Issue of Ownership Is A Matter of State Law

      Because federal law does not govern property rights in aircraft, the issue of the nature

of fractional share ownership is a matter of state law. As will be discussed below, it is a


                                                   8
 Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 9 of 31 PageID 1912



question of first impression under Florida law. There are no cases that have been found that

define the interests of fractional share participants vis a vis the fractional share operator, the

fractional share interest holders inter se, or the fractional share interest holders as to third

parties. To the extent the rights of certain third parties, such as mechanics having liens on the

aircraft under either Florida law or the law of any other state in which the aircraft may have

been based and operated, are concerned, those liens are on the property itself and there are no

cases involving the rights or obligations of specific fractional share interest holders to those

third parties.

      IV.        The Demise of the Avantair Fractional Share Program and the Grounding
                 of the Fleet of Aircraft Due to Rampant and Undocumented
                 Cannibalization of the Fleet Leading to the Demise of the Program As A
                 Whole.

       Avantair from its base at the St. Pete-Clearwater International airport operated a

fractional share program using a fleet of Piaggio twin engine turboprop aircraft. The fleet

consisted of more than 40 aircraft, and Avantair was the largest operator of Piaggio aircraft

in the world. However, in the period leading up to the filing of this involuntary Chapter 7

bankruptcy by certain of the Fractional Share participants, the Avantair Fractional Share

Program became distressed resulting in complaints by fractional share participants of

inadequate service. Unknown to the fractional share participants, Avantair had undertaken a

pervasive practice of removing parts, including life limited parts having a useful life of only

a certain number of takeoffs/landings (“cycles”) or flight hours, from certain aircraft and

installing them on other aircraft. Additionally, the original engines and propellers, which also

required periodic overhaul and inspection after a certain number of cycles or flight hours,

were sent out to third party maintenance facilities for service, repair or overhaul, and, upon

return, were then placed on the next aircraft that needed those components, rather than the
                                                   9
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 10 of 31 PageID 1913



aircraft from which they came. Ultimately, this led to certain aircraft not having the operable

components required to keep them in service and those aircraft then became “donor” aircraft

from which parts were cannibalized in order to provide replacements for other aircraft, rather

than purchasing replacement parts for those aircraft. Additionally, many of the engines and

propellers in the hands of third party maintenance facilities were not returned to Avantair

because it was unable to pay for the services rendered on those engines and propellers.

      The pervasive and rampant nature of this practice came to the attention of the FAA

shortly before this involuntary bankruptcy proceeding was filed, and the FAA appointed a

special task force to investigate the matter. The result of that survey was an unprecedented

emergency order grounding the entire fleet of aircraft because the FAA concluded that the

maintenance record keeping associated with the removal and replacement of parts was

inaccurate, incomplete, and in some instances fabricated, resulting in the conclusion that

none of the more than 40 aircraft in the fleet could be deemed safe and airworthy based upon

the individual aircraft records, as maintained by the operator, Avantair.

      The FAA then implemented a special inspection procedure whereby individual aircraft

could be inspected by a certified service facility and a determination could be made that the

aircraft was safe and airworthy. Nevertheless, it would still be necessary for the maintenance

facility to make a mandatory logbook entry in the individual aircraft records stating that the

aircraft had been subject to the Avantair maintenance program and that prior maintenance

entries in the logbooks could not be relied upon of accuracy or completeness.



      V.      The Bankruptcy Court Proceedings, the Formation of De Facto (not De
              Jure) Owner Groups, and the Section 363 Sales

      Avantair, despite continuing promises to the fractional share participants that it would

                                                10
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 11 of 31 PageID 1914



correct its problems, ceased its operations, terminated its employees and closed down its

operations leaving its fleet of aircraft parked at airports throughout the United States. Groups

of “co-owners” of individual aircraft for the first time were contacted by “organizers” or in

some instances were organized by the more interested or aviation savvy members of a “co-

ownership” group, and undertook to (a) locate the aircraft in which they had been assigned

an interest; (b) secure the safety of the aircraft; and (c) take steps to assure that the aircraft

were insured.

       Immediately after the filing of these proceedings, the Bankruptcy Court appointed the

Trustee, who then retained counsel. The Trustee and its counsel then undertook to secure the

property located at the St. Pete - Clearwater International Airport and at the Orlando

International Airport, to secure the maintenance records on the aircraft and otherwise take

steps to attempt to prevent pilferage and theft of the property used by Avantair. The Trustee

also coordinated with the FAA regarding the ongoing safety survey and the grounding of the

fleet and also worked with the aircraft manufacturer Piaggio to develop a program for re-

certificating the grounded aircraft.

       From the outset, certain of the de facto groups of “co-owners” claimed the right to

possession and the right to sell “their” aircraft. Appellant resisted those efforts, contending

that the proper forum for the assembly and sale of the fleet of aircraft was in the bankruptcy

proceedings. While these two positions seemed irreconcilable, a common interest soon

emerged: the bankruptcy court was the only forum that would (a) protect the aircraft from

being foreclosed upon throughout the United States by aircraft maintenance facilities

claiming possessory and non-possessory liens on the aircraft, (b) the bankruptcy trustee was

in a position to act as a representative to the FAA and the manufacturer with regard to the


                                                   11
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 12 of 31 PageID 1915



ongoing airworthiness issues, rather than requiring each de facto group and many of their

individual members to do so, (c) and, most importantly, given the uncertain “ownership”

issues pertaining to a fractional share program, the bankruptcy court was the only forum in

which the aircraft could be sold with good title, free and clear of all liens. Thus, regardless of

whether a fractional share participant was a member of a de facto group (and many of the

fractional share participants did not choose to join these de facto groups), or sought the

benefits of the bankruptcy process to realize a recovery from the fractional share interest that

it had acquired in the fleet of aircraft, the common goal was to (a) protect and preserve the

aircraft, (b) deal effectively with any liens claimed on the aircraft and avoid any lien

litigation outside the bankruptcy forum, (c) sell the aircraft free and clear of liens in an

orderly and efficient manner without incurring undue additional expense, and (d) distribute

the funds realized from the sale of the fleet of aircraft.

       A two-step process was established to achieve these goals: first, certain of the “co-

owners” would seek relief from the bankruptcy stay for the limited purpose of preserving

that aircraft, while, in so doing, subjecting the aircraft to the jurisdiction of the bankruptcy

court to stay all lien enforcement procedures and litigation outside of the bankruptcy process;

and, second, at such time as certain of the “co-owners” sought to seek leave to sell the

airplane, a Motion to Compromise would be filed by the Trustee, which, upon notice to all of

the “co-owners” and all of the fractional share participants, as well as all those claiming a

lien of any kind in the airplane, would set forth the proposed procedures for a section 363

sale of the aircraft by the Trustee to a third party free and clear of all liens, which would

result in the payment of all liens, the payment to the Trustee of its fees and expenses, certain

other approved fees and expenses, the costs of the sale, and, ultimately the distribution of the


                                                   12
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 13 of 31 PageID 1916



remaining proceeds from the sale.

      CCA, as one of the larger participants in the Avantair program, had been assigned

fractional share interests in three aircraft. CCA had taken an active role in identifying the

location and condition of those three aircraft leading up to the bankruptcy. It was also clear

to CCA’s counsel that the conditions of the aircraft varied dramatically and that at least one

of the aircraft in which it had been assigned an interest had been cannibalized and made a

“donor” aircraft. CCA had been a proponent of the bankruptcy proceedings from the start to

achieve an orderly liquidation of the Avantair assets through preservation of the aircraft, the

payment of those maintenance facilities that had preserved the aircraft and their engines, and

then an early and efficient sale of the fractional share fleet of aircraft. CCA also made it

clear, however, that the proper distribution among the fractional share participants from the

sale of the aircraft in the fractional share fleet should be “share and share alike,” rather than

allowing the groups of participants assigned interests in those aircraft that had received the

parts from the other aircraft to be unjustly and fortuitously rewarded because they had been

assigned interests by the Debtor in those particular aircraft. As will be discussed below, CCA

took this position because of its view of the inherent nature of ownership of interests in a

fractional share program, and also because under Avantair’s management, the parts of the

aircraft had been removed and placed on different aircraft such that it was impossible to

determine the origin of the parts on the aircraft at the time of the bankruptcy and that in order

to avoid unjust enrichment, the only practical remedy was a “share and share alike,” rather

than a “musical chairs” form of distribution.


      VI.     The Bankruptcy Court’s Ruling As to Return of Certain Parts and Distribution of
              Proceeds from the Sale of Aircraft and the Reasons The Orders Approving
              Distribution Should Be Reversed and Remanded


                                                  13
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 14 of 31 PageID 1917



        Ironically, counsel for the “de facto” groups of owners was not really interested at the

outset in having the aircraft sold in the true “musical chairs” manner, but insisted that at the very

least the original engines and propellers, the most valuable parts of the aircraft, be returned to the

aircraft of origin, regardless of where they were at the time of the bankruptcy. Thus, in seeking

relief from the stay, they also sought relief to permit the return of the original propellers and

engines from the aircraft on which they were then located in order to re-place them on the

original aircraft. CCA objected to this relief because under its view, if the fleet as a whole were

subject to sale through the bankruptcy process, there was no need to spend up to a hundred

thousand dollars on each airplane merely to remove, transport and physically attach each of the

two, more valuable engines, to less valuable airframes. Nevertheless, the Bankruptcy Court

granted this relief from the stay, with the result that these funds have now been spent locating,

removing, transporting and re-placing engines and propellers to the original aircraft. While not

intending to be a beneficiary of this otherwise unnecessary and wasteful process, CCA, as a “co-

owner” of one of the cannibalized aircraft has now been rewarded with two engines that had

previously been removed and that have since been sold at a handsome price. Thus, CCA is now,

according to Appellees, one of the fractional share participants rewarded – not by the musical

chairs theory that Appellees espouse – but by the one effort made under the bankruptcy process

to restore value to the original “co-owners” in order to avoid the purely fortuitous effects of the

“musical chairs” theory that otherwise will govern the distribution of the proceeds from the sale

of the aircraft.

        More significantly, CCA objected to the distribution of the proceeds from each sale of an

aircraft only to the “co-owners” of that aircraft on the grounds that the proceeds should be

distributed among the fractional share owners as a group “share and share alike” based on their


                                                  14
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 15 of 31 PageID 1918



respective shares in the fleet. CCA also objected on the further grounds that, even if each aircraft

was “owned” only by the fractional share participants in that aircraft, then none of the aircraft at

the time of its sale, according to the FAA investigation, could reliably be said to be made up of

its original parts, and therefore the distribution of the proceeds should not be limited to that

group of “co-owners” in the original aircraft. Instead, the proceeds from the sale of each aircraft

should be distributed among all of the fractional share participants to reflect the reality that each

aircraft at the time of the sale was made up of parts from other aircraft in the fleet. Such

distribution would ameliorate the purely fortuitous unfairness to those fractional share

participants assigned interests only in the truly “cannibalized” aircraft and the unjust enrichment

to those that were the beneficiaries of Avantair’s desperate, distressed and unlawful (at least

from the standpoint of the FAA recordkeeping) removal of parts during the final period of its

decline in order to avoid the inevitable collapse of its operations.

       The Bankruptcy Court heard extensive oral argument and briefing on this issue of

distribution of the “last tier of the waterfall,” and held that the proceeds from each sale should be

limited to those fractional share participants (“co-owners”) assigned an interest in the particular

aircraft. The Bankruptcy Court rejected CCA’s argument that the fractional share interest holders

were not the “owners” of the individual aircraft, and held that under the Fractional Share

Program documents, Avantair’s permitted “use” of the aircraft included the removal of the

individual parts from each of the aircraft for use on other aircraft. The Bankruptcy Court based

its decision on its interpretation of the contracts, and, if there was any ambiguity, on evidence of

custom and practice of other fractional share operators, notably NetJets, that used parts from fleet

aircraft to be placed on other aircraft in the fleet. Additionally, the Court found that contract

documents required Avantair to maintain the individual aircraft in airworthy condition, thereby


                                                  15
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 16 of 31 PageID 1919



requiring it to replace the parts removed from individual aircraft, and that the failure to replace

the parts gave rise to an unsecured contract claim (that presumably will have to be resolved at

some future point in these proceedings as the fractional share participants attempt to show the

amount by which the “value” of each of “their” aircraft was diminished by this breach of

contract). (See transcript of December 12, 2013 hearing). Notably, in a subsequent hearing to

memorialize its ruling, the Bankruptcy Court also stated that in addition to the original grounds

for its ruling, it also was finding that the distribution proposed by CCA was impractical and

would be unduly burdensome. (See transcript of January 24, 2014 hearing).

        CCA has filed this appeal contending that the proper distribution based upon the

ownership rights granted by the debtor to the fractional share participants to “use” aircraft of the

fractional fleet (not even “their own” aircraft) for a period of “time” dictated by the size of their

fractional share interests in the fleet aircraft should dictate the amount of the proceeds that each

should recover from the sale of the fractional share fleet of aircraft, and on the grounds that the

most equitable, practical and administrable method of distribution is simply to determine each

participant’s share in the fleet as a whole, and then to allocate that pro rata share of the remaining

proceeds from the sale of the fleet as a whole among the fractional share participants for

purposes of distribution. Other than the distribution of funds from one aircraft, which was sold

at less than the average price, 2 all of the funds from the sale of aircraft to date can be distributed

in this manner. Moreover, once it is determined that the Debtor and the fractional share

participants are either the owners of all of the aircraft in the fractional share fleet or that all of the

aircraft in the fractional share fleet likely contain valuable components from other aircraft in the
2
  CCA objected to this distribution, but the objection was overruled by the Bankruptcy Court and
the proceeds were sent by Appellee’s counsel without direction to CCA’s counsel. CCA decided
to accept this distribution because it is clearly less than the average distribution for which CCA
contends on this appeal. In the event of any further distribution, CCA obviously will credit the
amount of this single distribution toward any amount to be subsequently distributed.
                                                   16
    Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 17 of 31 PageID 1920



fleet, then all of the fractional share aircraft, wherever they were located at the time of the filing

of the involuntary bankruptcy, will need to be turned over to the Trustee for a Section 363 sale in

accordance with the same procedure that has been successfully used to date.

                                     QUESTIONS PRESENTED

          Thus, the fundamental questions presented on this appeal are essentially two-fold: 3

          (1) Are the fractional share participants “owners” of any particular aircraft at all

              based upon the overall interests retained by Avantair under the Program

              Documents, such that they are entitled to the exclusive distribution of the

              proceeds from the sale of that aircraft; and

          (2) If the fractional share participants are “owners” of a particular aircraft, do the

              various groups of “owners” have claims inter se when the parts of their aircraft

              are cannibalized and placed on other aircraft, unjustly enriching the “owners” of

              other aircraft, such that those claims of the group of “owners” of cannibalized

              aircraft to the proceeds of sale of a particular aircraft, which is the beneficiary of

              that program of cannibalization, cannot be ignored and must be recognized for

              purposes of distribution.

    Neither of these issues can be resolved simply by the talismanic contention that each group

    of fractional share participants were the “owners” and therefore should be entitled to the

    exclusive distribution of the proceeds from that aircraft.

                       ARGUMENT AND CITATION OF AUTHORITY


3
 The fundamental questions set forth above are believed to be comprehensive and dispositive of
all of the specific issues on this appeal, but if further detail is required, Appellant also
incorporates herein by reference the specific issues presented on appeal previously filed in
support of this appeal.
                                                    17
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 18 of 31 PageID 1921



   I.     The Debtor Retained An Ownership Interest In the Fractional Share Aircraft
          Such That The Individual Fractional Share Interest Holders Are Not Owners
          Of Individual Fleet Aircraft, Even Though Granted “Record” Title In Specific
          Aircraft for FAA Regulatory Purposes.

        The leading fractional share operator in the United States is NetJets, and its rights in

the fleet of aircraft that it operates were determined as a matter of state law in NetJets

Aviation, Inc. v. Guillory, 207 Cal. App. 4th 26; 143 Cal. Rptr. 3d 111 (2012). The

California Court of Appeals found that the seller of the fractional interests, NetJets, which

would be analogous to the Debtors in this case, was properly considered the owner of the

aircraft under the applicable California constitutional and statutory tax provisions, because

the fractional share owners could not transfer their interests in the aircraft without the seller’s

consent and could not use the aircraft other than in accordance with the fractional ownership

program.

        As the California Court of Appeals noted in NetJets, a fractional owner does not enter

into not a “simple contract” to purchase a fractional interest but a number of interrelated

operating agreements controlling the ownership interests in the aircraft: (1) a purchase

agreement by which the owner acquires an undivided share in an aircraft and agrees not to

transfer its interest without the respective seller’s consent, agrees to use the aircraft

exclusively in the program, transfers possession of the aircraft back to the seller, and grants

seller the right to repurchase the fractional interests under specific conditions; (2) a

management agreement, by which the fractional owner gives the seller the exclusive right to

manage the aircraft, and agrees to pay a monthly management fee and an hourly fee for the

time the aircraft is used, and by which the seller agrees to staff, provide pilots for and

maintain the aircraft, and retains the right to use the aircraft when not being used by a

fractional owner; (3) an owner’s agreement, by which each fractional owner agrees that the
                                                   18
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 19 of 31 PageID 1922



aircraft will be used exclusively in the fractional ownership program, and (4) a master

interchange agreement or dry lease agreement, by which all fractional owners agree that they

will participate in the fractional ownership program under the relevant operating agreements,

and that the aircraft for which the owner is on title will be used in the program. Given the

restraints on alienation, possession, ownership and operation of the aircraft in the program, it

is clear that the fractional owners were not simply taking a “specific ownership interest in a

particular aircraft.”

      As noted by the California Court of Appeals, fractional share programs create a

“hybrid form” of general and commercial aviation and for tax purposes:

       . . . . “Record title is, of course, neither conclusive evidence of legal title nor a

       synonym for ownership.”

207 Cal. App. 4th 26, 46, 2012 Cal.App. LEXIS 725, ***35 (Cal.App.4th Dist. 2012).

        The California Court of Appeals came to the conclusion that for tax purposes the

fractional share fleet manager satisfied the California constitutional and statutory definition

of an owner for tax purposes, stating that “ ‘the terms ‘owner’ and ‘owned’ may be so

defined as to include a person possessing such interest in property that he has lawful

possession of it.’”

        In that case the Court of Appeals rejected the trial court’s determination that NetJets

did not have lawful possession or control of the fleet of fractional share aircraft for the

following reasons:

        The fractional owners cannot transfer their interests in the aircraft without [NetJet’s]
        consent (although the consent cannot be unreasonably withheld). The fractional
        owners may not use the aircraft other than within the fractional ownership program.
        [NetJets] retains the right to sell additional shares of the fractionally owned aircraft,
        and retain possession of the aircraft except when a fractional owner is using the

                                                   19
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 20 of 31 PageID 1923



      aircraft. [NetJets] [has] the refight to repurchase the fractional ownership interests
      after five year, or if the fractional share owner materially breaches any of the
      operative agreements. [NetJets] maintain[s] the aircraft, obtain[s] insurance for the
      aircraft, and provide[s] staff and piloting services for the aircraft (unless the
      fractional owner chooses to provide its own pilot, who must by approved by
      [NetJets]). [NetJets] handles scheduling of the aircrafts use. The fractional owners
      pay [NetJets] a monthly maintenance fee, as well as an hourly fee when they are
      actually using the aircraft. When any aircraft is not being used by one of the
      fractional owners, [NetJets] retain[s] the right to use the aircraft for their own
      purposes. These purposes may include use of the aircraft to train pilots or for
      marketing their fractional use programs. [NetJets] may also lease the aircraft directly
      to nonfractional owners or to third parties who in turn sell their aircraft time to
      nonfractional owners; in either event, [NetJets] is making money on the aircraft
      which is not shared with the fractional owners. The fractional owners are never
      guaranteed that when they use their fractional interest, it will be the aircraft in which
      they actually own a share. [NetJets] retain[s] the right to transfer a fractional owner’s
      interest in one aircraft to another aircraft of equal or greater value.

207 Cal. App. 4th 26, 44, 2012 Cal.App. LEXIS 725, ***29 (Cal.App.4th Dist. 2012).

      In the present case, Avantair exercised almost identical control over the fractional

share fleet – so much so that Appellees submitted affidavits to the Bankruptcy Court from

NetJets’ executives explaining the degree of control customarily retained by fractional share

operators over the fleet – in order to support their extraordinary contention that the “use of

the aircraft” retained by the fractional share operator included the right to “use” its

component parts on other aircraft, and that the fractional “owners” of the “donor” aircraft

had authorized such removal so that they could claim no rights to the proceeds from the sale

of other aircraft in the fleet made up of the constituent parts of the “donor” aircraft.

      It is clear that the only title granted to the fractional share interest holders is “record”

title for the purposes of “recording” a Bill of Sale in the FAA Aircraft Registry to satisfy

the regulatory requirements that enable such fractional share operators to circumvent the

regulations that would apply if the fractional share operator was the “owner” of the aircraft

and was providing air transportation services to the participants in the program – which is

                                                 20
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 21 of 31 PageID 1924



 exactly what in substance is occurring. Thus, the question is whether under Florida law, an

 entity that retains all aspects of beneficial ownership of the property, and also the lawful

 and inalienable right through the documents that result in the transfer of record title of the

 property, to exclusive possession, control and alienability of the property, retains an

 “ownership” interest in the property. To say that such a record title holder is, or such record

 title holders are, the exclusive “owner[s]” of the property under Florida law and applicable

 bankruptcy law, when not granted any right of possession or control of the property or any

 interest in the property by which they could benefit from the property or it use, and the

 grantor had retained all of those rights, and for which the record title holder had only

 received in return the limited right to “use” similar property, subject to the complete control

 of the grantor, would turn the law of property on its head. It is clear that, at the least, the

 Debtor has retained an ownership interest in the aircraft, albeit a “hybrid” form of property

 interest, retaining all of the interests of ownership other than record title, and with respect to

 which record title, it also retains control of the fundamental right of alienability under the

 terms of the granting documents.

  II.    Even If the Fractional Share Participants Are Considered the Exclusive
         Owners of Specific Aircraft, the Proceeds From the Sale of Aircraft That Have
         Not Been Determined to Be In Their Original State [and Therefore The
         Beneficiaries of Parts From Other Aircraft] Should Not Be Limited to The
         Fractional Share Participants in That Aircraft.

        A.      The Distribution of the Proceeds From the Sale of the Aircraft Sold Under
                Section 363 of the Bankruptcy Code Should Not Be limited to Those
                Claiming a Fee Simple Interest In The Original Aircraft

        Because through the course of the operation of the Avantair program, the fractional share

interest holders have acquired interests in each other’s aircraft as a result of the intermingling of

parts and components, the distribution of the proceeds from the sale of any one Program aircraft


                                                   21
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 22 of 31 PageID 1925



should not be limited to fractional share interest holders originally assigned to that aircraft.

         B.     In the Absence of The Right to Convey Title, Interchangeable Parts Removed
                From One Aircraft and Placed on Another, Do Not Establish Rights in Those
                Claiming Interests in The Other Aircraft Under the Doctrine of Accessions

         In Bancorp Leasing & Financial Corp. v. Stadeli Pump & Constr., Inc., 303 Ore. 545,

739 P.2d 548 (Ore. 1987), the Oregon Supreme Court described the doctrine of accessions as to

interchangeable auto parts as follows:

         Briefly stated, the common-law rule of accession is that “[w]hen the goods of two
         different owners are incorporated together, the title to the resulting product goes
         to the owner of the principal goods.”
                                                      ***
         The common-law doctrine of accession was taken from Roman law by Bracton
         and was said by Blackstone to have been grounded on the right of occupancy.
                                                  ***
         Accession did not occur through the mere physical attachment of goods. The
         incorporation of the goods had to be such that the component goods could not be
         recovered, as with ink and parchment in a writing, or could be recovered only at
         substantial economic cost, as with thread interwoven into a garment.
                                                  ***
         In the United States, the severability limitation came to be a rule that “the
         principle of accession does not apply when the attached articles can be separated
         and removed from the principal thing without damage to the latter.” Brown,
         supra, § 6.3, at 52. The leading case articulating this rule, Clark v. Wells, 45 Vt 4,
         12 Am Rep 187 (1872), is factually somewhat similar to the present case. In
         Clark the plaintiff made a conditional sale of wheels and axles that he used to
         repair a wagon.
                                                  ***
         Where, however, the added part is owned by a third party, as in this case, or
         where a third party has a security interest in the part, under the common law
         courts ordinarily will not conclude that the part acceded to the vehicle unless it is
         not severable.

Id. at 551-555, 739 P.2d at 551-553 (emphasis added).

         In Bank of America v. J. & S. Auto Repairs, 143 Ariz. 416; 694 P.2d 246; (Ariz. 1985),

the Arizona Supreme court also described the doctrine of accessions to interchangeable auto

parts:

         On the second issue, we must determine whether the motor and other detachable
         parts were accessions.
                                                  22
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 23 of 31 PageID 1926



                                                ***
       The court in Atlas stated:

               “The plaintiff contends that the engine in the car became so much an
               integral part of it that under the doctrine of accession replevin lay for the
               whole car. In these days when the various parts of an automobile are
               easily removed and replaced, or interchanged, often without materially
               affecting the structure of the car, that doctrine has its obvious limitations.
               Indeed, it easily lends itself to a reduction ad absurdum. Suppose a thief
               has stolen three automobiles of the same make and he constructs a car by
               taking the chassis from one, the engine from another, and the body from
               the third; which of the owners of the stolen automobiles in such a case
               could claim the reconstructed car?
                                                      ***
               It is clear that the engine could now be taken out of the reconstructed car
               without damage to the body or the chassis. Of course the engine had very
               substantial value as compared to the value of the whole car.
                                                  ***
       We believe that the cases such as Atlas and Havas holding that detachable parts
       are not accessions are better reasoned and provide a more equitable result than
       Lincoln Bank and Allied Investment by preventing a complete windfall to the
       chattel owner.
                                                  ***
       The principle was not designed or intended to give the owner of the chattel more
       than he had to start with, but it was intended to assure he would not obtain his
       chattel in a condition of less value or usefulness than before it was changed by a
       third party.
                                                  ***
       Thus, where a motor and parts can be removed and the garageman offers to
       remove the parts, he should be entitled to either the parts, with removal performed
       at his expense, or the value of the parts. We hold that if they can be removed
       without damaging the vehicle, detachable parts added to a motor vehicle are not
       accessions. Whether certain parts can be removed without damage or injury to a
       vehicle is a factual question that must be determined in each case.

Id. at 420-423, 694 P.2d at 250-253 (emphasis added). See also In re Lyford, 92 B.R. 222,

1982 Bankr. LEXIS 3686 (Bankr. D. Me. 1982).

       In Brown & Root v. Ring Power Corp., 450 So. 2d 1245 (Fla. 5th D.C.A. 1984), the

Court held that under Florida law the good faith purchaser of the personal property from a

person that did not own the property did not acquire title to the property, subject to the rule that a

“voidable title may be successfully perfected by the ultimate buyer who purchases for valid

                                                 23
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 24 of 31 PageID 1927



consideration and without notice of the title defect where the rightful owner lost possession

through conversion following entrustment,” citing Carlsen v. Rivera, 382 So.2d 825 (Fla. 4th

CCA 1980), and Section 672.402 Fla. Stat. (1981). Of course, any purchaser of any of the

Avantair aircraft will be on notice of this bankruptcy and of the claims of others in the Avantair

fleet of aircraft and their component parts.

       C.      Where the Partition of the Proceeds Among Those Actually Having An
               Interest In the Current Aircraft Is Not Practical, The Bankruptcy Court, As
               A Court Having Equitable Jurisdiction, May Provide A Method of Sale And
               Distribution That Maximizes the Value of the Program Aircraft Fleet and
               Distributes That Fund In Accordance with the Respective Interests of the
               Fractional Share Holders

       The Bankruptcy Court has the equitable power to establish a method of distribution of the

proceeds from the sale of Program aircraft that will result in a just, equitable and efficient

distribution in accordance with the respective interests of all of the fractional share interest

holders. Such a distribution would be similar to the cy pres distribution approved in class actions

where it may be impractical to distribute a common fund in precisely the manner required to

compensate each member of the class with precision, but by distributing the common fund in the

next best manner, the Court can avoid unjust enrichment and can achieve a just and equitable

distribution. See Masters v. Wilhelmina Modeling Agency, Inc., 473 F.3d 1423 (2d Cir. 2007).


                                          CONCLUSION

       For the foregoing reasons, CCA respectfully requests that the orders under review in this

Consolidated Appeal be reversed and remanded and that Appellants’                  objections to the

distribution of the proceeds from the sale of each fractional share aircraft solely to the

“Fractional Owners” claiming originally assigned interests in that aircraft be sustained, and that

the granting of the Motion to Approve Settlement and the Motion to Approve Sale be

conditioned upon an alternative method of distribution among all of the fractional share

                                                  24
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 25 of 31 PageID 1928



participants in the Avantair program in which such proceeds are distributed pro rate “share and

share alike” based on the fractional share interest of each participant in the fractional share fleet,

or in such other alternative manner as this Court deems just and proper.


      Respectfully submitted, this 6th day of October, 2014.


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                                                 25
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 26 of 31 PageID 1929




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day served a true and correct copy of the

foregoing    CORRECTIONS          CORPORATION      OF    AMERICA,       D/B/A    CCA      OF

TENNESSEE, INC., AND CCA OF TENNESSEE, INC. BRIEF OF to all persons receiving

notice by CM/ECF and upon those individuals and entities listed in Exhibit “A” hereto by U.S.

Mail, first class, postage prepaid.

         This 6th day of October, 2014.

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                                             26
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 27 of 31 PageID 1930



                                           Exhibit A

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                                               27
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 28 of 31 PageID 1931



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                                              28
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 29 of 31 PageID 1932



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                                                29
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 30 of 31 PageID 1933



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                                            30
Case 8:14-cv-01742-JSM Document 21 Filed 10/06/14 Page 31 of 31 PageID 1934



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    c/o Anne K. Ryan, Registered Agent                  c/o Cochise Rounds, President
              615 Front Street                             12888 Highway 6 South
          San Francisco, California 94111                         Suite 116
                                                              Sugar Land, Texas 77498
             Avantair, Inc.                                   Beth Ann Scharrer
       4311 General Howard Drive                                   Trustee
         Clearwater, FL 33762                                   P.O. Box 4550
                                                              Seminole, FL 33775
            Coventry Air, LLC                               AvAero Services LLC
            335 Millicent Way                        c/o Mark Dessy, Managing Member
           Shreveport, LA 71106                                 P.O. Box 1708
                                                            El Segundo, CA 90245




                                            31
